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             BY ECF

                                                                September 10, 2020

             The Honorable William H. Pauley III
             United States District Judge
             Southern District of New York
             500 Pearl St.
             New York, NY 10007

             Re:         United States v. Daniels, 19 Cr. 931-WHP-3 (S.D.N.Y.)

             Dear Judge Pauley:

                    We represent Defendant Quinteria Daniels in the above-captioned case. We write to
             request that the Court schedule a change-of-plea hearing for Ms. Daniels. We have conferred
             with the Government on scheduling, and both parties are available on Wednesday, October
             21, 2020 or Thursday, October 22, 2020. Additionally, Ms. Daniels can be available at the
             Court’s convenience on any day thereafter.

                    Under the Coronavirus Aid, Relief, and Economic Security Act (“CARES Act”) and
             Chief Judge McMahon’s standing order, 20 Misc. 176, the Court may use video conferencing,
             or telephone conferencing if video is not reasonably available, to conduct a felony plea
             hearing with the consent of the defendant and upon a finding by the presiding judge that the
             proceeding cannot be further delayed without serious harm to the interests of justice. Ms.
             Daniels consents to a remote plea and indeed requests that her plea hearing take place by
             video conferencing, or telephone conferencing if video is not reasonably available, due to the
             ongoing risks associated with the COVID-19 pandemic. The Government does not oppose
             this request.




BEIJING        HONG KONG      HOUSTON    LONDON   LOS ANGELES       PALO ALTO           SÃO PAULO    SEOUL   TOKYO       WASHINGTON, D.C.
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                                                                  Simpson Thacher & Bartlett LLP


 September 10, 2020                                            The Honorable William H. Pauley III




      In accordance with the request by counsel for co-defendants Kamel Osborne and
Lywan Reed (Dkt. No. 47), which Your Honor granted on September 10, 2020 (Dkt. No. 48),
we request that any pre-trial deadlines previously imposed by the Court that fall before the
change-of-plea hearings be adjourned until two weeks after the change-of-plea hearings
scheduled for all defendants.

       Thank you for your consideration.

                                                      Respectfully submitted,

                                                      /s/ Brooke Cucinella
                                                      Brooke Cucinella

cc:    Counsel of record (by ECF)




                                    Application granted. Change of plea conference scheduled
                                    for October 21, 2020 at 2:30 p.m. and will take place via
                                    Skype. The pretrial deadlines are adjourned as requested.




                                                 September 14, 2020




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